                       Case 7:22-cr-00121-DC Document 1 Filed 04/27/22 Page 1 of 5
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                 FILED
                                                                 for the
                                                                                                               April 27, 2022
                                                     Western District
                                                  __________ District of
                                                                      of Texas
                                                                         __________                        CLERK, U.S. DISTRICT COURT
                                                                                                           WESTERN DISTRICT OF TEXAS
                  United States of America
                             v.
                                                                    )
                                                                    )
                                                                                                                      M. Ramirez
                                                                                                       BY: ________________________________
                                                                                                                               DEPUTY
                                                                    )      Case No. 7:22-MJ-116
          Travis SULLIVAN and Mark HODGE                            )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     April 25, 2022              in the county of           Midland, Texas            in the
     Western           District of              Texas           , the defendant(s) violated:

            Code Section                                                      Offense Description


21 USC Sec. 841(a)(1)&(b)(1)(A) &                Conspire to possess a Controlled Substance with intent to distribute fifty
846.                                             grams or more of actual methamphetamine.




         This criminal complaint is based on these facts:
See attached




         ✔ Continued on the attached sheet.
         ’


                                                                                                 /s/ James Dolan
                                                                                               Complainant’s signature

                                                                                              ATF TFO James Dolan
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:             04/27/2022
                                                                                                  Judge’s signature

City and state:                           Midland, Texas                             U.S. Magistrate Judge Ronald Griffin
                                                                                                Printed name and title
           Case 7:22-cr-00121-DC Document 1 Filed 04/27/22 Page 2 of 5



                                           AFFIDAVIT
                                                                   7:22-MJ-116

     I, James Dolan, a Detective with the Midland Texas Police Department, currently assigned to the

     Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) as a Task Force Officer (TFO) on

     Midland Odessa Violent Crimes Task Force, being duly sworn state:

1.   I have successfully completed extensive training emphasizing narcotics investigation and law

     enforcement. I have been employed by the Midland Texas Police Department as a police officer

     and detective for approximately 17 ½ years and have participated in numerous narcotics

     investigations involving firearms violations. I have also attended courses based on investigating

     Narco-Terrorism and interdiction. In addition, I have operated in an undercover capacity during

     investigations where narcotics were purchased.

2.   I am familiar with the facts and circumstances of this investigation as a result of my personal

     participation in the investigation referred to in this affidavit and information summarized in

     reports I have reviewed. I have compiled information derived from numerous discussions with

     experienced law enforcement officers, and detectives of the Midland Police Department. Since

     this complaint is being submitted for the limited purpose of establishing probable cause, I have

     not included each and every fact known by me in the investigation. More specifically, I have set

     forth only pertinent facts that I believe are necessary to establish probable cause. Based on the

     facts cited in the body of this affidavit, I believe that probable cause exists that Travis

     SULLIVAN and Mark HODGE did knowingly and intentionally conspire to possess with intent

     to distribute over 50 grams of actual methamphetamine, a Schedule II Controlled Substance, in

     violation of Title 21, United States Code 841(a)(1) & (b)(1)(A) and 846.



                                                 1
           Case 7:22-cr-00121-DC Document 1 Filed 04/27/22 Page 3 of 5




3.   At the beginning of April 2022, Detectives with the Midland Police Department received

     information that a Travis SULLIVAN was distributing quantities of methamphetamine in the

     Midland, Texas area. With this information Detectives were able to utilize a cooperating source

     to purchase quantities of methamphetamine from SULLIVAN. Also, during the investigation

     Detectives received information that SULLIVAN was traveling to Odessa, Texas and obtaining

     quantities of methamphetamine from a guy named Mark and then bringing the methamphetamine

     back to Midland to sell.

4.   On April 25, 2022 Detectives with the Midland Police Department Narcotics Unit were

     conducting surveillance of SULLIVAN and observed that he went to Odessa and parked at a

     residence located at 2002 N. Washington. MPD Detectives notified the Odessa Police

     Department Narcotics Unit and they arrived in the area and assisted with surveillance. While on

     surveillance Detectives ran the license plate to a brown Ford F250 bearing TX LP: GLZ-6271

     that returned to a Mark HODGE.

5.   During the surveillance Detectives observed SULLIVAN exit the residence at 2002 N.

     Washington. Detectives followed SULLIVAN away from the residence where he was later traffic

     stopped by OPD Detective Moore. During the stop SULLIVAN was asked for consent to search

     his vehicle, however he denied and an Odessa Police Department K9 was called to the scene.

     Once the K9 Officer arrived, he utilized the K9 to conduct an open-air sniff. During this time the

     K9 Officer advised that the canine gave an indication on the vehicle granting Detectives probable

     cause to search the vehicle. During the search of the vehicle Detective Moore located

     approximately 29 grams of methamphetamine in the center console. Under Miranda, SULLIVAN

     stated that he had just purchased this from his supplier Mark HODGE at 2002 N. Washington.



                                                 2
           Case 7:22-cr-00121-DC Document 1 Filed 04/27/22 Page 4 of 5




6.   While on the traffic stop with SULLIVAN, surveillance was maintained on the residence located

     at 2002 N. Washington. While conducting surveillance of the residence, HODGE was observed

     leaving his residence in the brown Ford F250 bearing TX LP: GLZ-6271. Shortly after leaving

     his residence a traffic stop was conducted on HODGE for failing to signal when he made a turn.

     During the traffic stop, an Odessa Police Department K9 made a positive alert on the vehicle, at

     which point a search was conducted. During the search officers located approximately 1.5 grams

     of methamphetamine, .4 grams of Ecstasy, and a silver colored Titan .25 Cal handgun (SN:

     A77050).

7.   Based on the facts and circumstances, a search warrant was requested for the residence and

     granted by a District Court Judge.       During a search of the residence, officers located

     approximately 71.4 additional grams of methamphetamine as well as several firearms,

     paraphernalia, U.S Currency and a small amount of marijuana.

8.   Both SULLIVAN and HODGE were transported to the Odessa Police Department. During the

     interview with SULLIVAN he stated that he has sold quantities of methamphetamine to HODGE

     and also purchased quantities from HODGE. SULLIVAN stated that he has purchased up to 4

     ounces of methamphetamine from HODGE at one time. SULLIVAN stated that it just depended

     on which one had it.

9.   When Detectives spoke with HODGE, Detectives read HODGE his Miranda, which he advised

     he would like to speak with an attorney. While sitting in the back seat of a patrol car I was

     informed that HODGE was asking to speak with me. HODGE at this time stated that he would

     speak with me without his attorney present. HODGE at this time admitted that he had a quantity

     of methamphetamine in his residence. HODGE confirmed that he and SULLIVAN have both



                                                 3
            Case 7:22-cr-00121-DC Document 1 Filed 04/27/22 Page 5 of 5




      sold methamphetamine to each other and also bought methamphetamine from each other just

      depending on who had it and could get the better deal.

10.   During the interview with SULLIVAN and HODGE, they both admitted to obtaining and

      distributing in excess of 50 grams of actual methamphetamine.

11.   Both SULLIVAN and HODGE were booked into the Ector County Law Enforcement Center on

      state charges pending federal prosecution.

12.   Based on my training, expertise and experience, I believe Travis SULLIVAN and Mark

      HODGE did knowingly and intentionally conspire to possess with intent to distribute over 50

      grams of actual methamphetamine, a Schedule II Controlled Substance, in violation of Title 21,

      United States Code 841(a)(1) & (b)(1)(A) and 846.

13.   The punishment SULLIVAN and HODGE faces if convicted of the alleged charge in this

      complaint is not less than 10 years and up to a lifetime of imprisonment, not less than 5 years of

      supervised release, a maximum fine of $10,000,000; and a $100 special assessment.

14.   United States Attorney Brandi Young is aware of this incident and has approved Federal

      prosecution of SULLIVAN and HODGE for violations of the above referenced offense(s).


       /s/ James Dolan
  ____________________________                                                  04/27/2022
                                                                             __________________
  James Dolan                                                                Date
  Task Force Officer
  Bureau of Alcohol, Tobacco, Firearms and Explosives



  Sworn to and subscribed before me in my presence.



  _______________________________                                                04/27/2022
                                                                            ___________________
  Ronald C. Griffin                                                         Date
  United States Magistrate Judge
                                                   4
